IN THE UNITED STATES DISTRICT COURT
EASTERN DI`STRICT OF TENNESSEE
AT CHATTANOOGA

 

MARTHA A. COOK and )
KENNETH W. COOK, )
)
Plaintiffs, )
v. ) CIVIL N(}.:
) .Iudge:
) Magistrate Judge:
STATE FARM MUTUAL AUTO )
INSURANCE COMPANY, }
)
Defendant. )
NOTICE OF REMOVAL

 

TO: Christopher D. Markel

Duncan & I-latcher, P.C.

701 Market Street, Suite 1000

Chaitanooga, TN 37402

Please take notice that on February 6, 2007, the Dei`endzmt, State Farm Mutual
Automobile insurance Company filed with the United States Dist'rict Court for the Eastern
Dislrict of Tennessee, Southem Division, this Notioe of Removal in the above-siyled aetion.
This Noziee of Removal is based upon the following facts:

l. On April 9, 2007, Plaintiffs Hlecl a lawsuit against Def`endam in the Circuit Coui't
of Bradley Coumy, Tennessee, Docket No. V~07»?.Sl. State Farm received a copy ofthe lawsuit
on Aprii 36, 20(}7', when it was served by mail from the 'i`ennessee Seeretary of State.
Accol'dingly" this Noiice of Removal is timely iiled, being less than 30 days since receipt of the

Summons and Complaint. Attached as Exhibit A are all process, pleadings, orders, and papers

in the case solved upon or otherwise in the possession of Defendant.

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2. 'l"he face of Plaintii"i`s Cornplaint indicates that the damages sought are in excess
of$75,000.00. (See Exhii)it A).

3. There is complete diversity of the parties in this iawsuit. State liann is an Illinois
corporation with its principal place of business in illinois As set forth in the Complaint,
Plaintit`fs are citizens and residents of 'i`ennessee.

4, Due to the fact that there is complete diversity of the parties and that the amount
in controversy is in excess of Set'enty~Five Thoasand Dollars {$75,000), this Court has original
jurisdiction over this matter pursuant to 28 U.S.C. Seetion 1332 and, accordingly, this action
mayr be removed to this Court by the Defendants pursuant to 28 U.S.C. Section 1441.

5. A true copy ol" this Notiee is being served upon Piaintit`fs and filed with the
Bradiey Count}3 Circuit Court Clerk.

Respecttixlly submitted,

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Gar th S. Aden, Esq., #2371

M Beth iiagan, i£sq., #2?..109

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A'I`TORNEYS l"OR STATE FAR.M MUTUAL
AUTOMOBILE INSURANCH COMPANY

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CER'I`IFICATE ()F SERVICE
l hereby certify that a true and exact copy ot` the foregoing has been served upon

Plaintit`t`s' eounsel, Christopher D. Marl<ei, Duncan & Hatcher, P.C., 701 M.arket Street, Suite
1000, Chattanooga, TN 37402, by depositing a copy thereof in the United States Maii, first

class, postage prepaid, this f 1' clay of May, 2007.
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